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                                                                                    CLOSED



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                               :
 UNITED STATES,                                :            Crim. A. No. 90-304 (SRC)
                                               :
                                    Plaintiff, :                      ORDER
                                               :
                        v.                     :
                                               :
                                               :
 RICKY DANZEY,                                 :
                                               :
                                   Defendant. :
                                               :


CHESLER, District Judge

       This matter having come before the Court on Defendant’s pro se application for

early termination of supervised release [Docket Entry No. 47]; and the Government

having opposed Defendant’s application; and the Court having considered the

submissions by the parties in support of and in opposition to the instant application; and

for good cause shown,

       IT IS on this 20th day of July, 2009

       ORDERED that Defendant’s application for early termination of supervised

release be and hereby is DENIED.



                                                     s/ Stanley R. Chesler
                                                     Stanley R. Chesler, U.S.D.J.
